         Case 1:17-cv-02041-RJL Document 124 Filed 01/29/21 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

_____________________________________
                                     )
MIKHAIL FRIDMAN, GERMAN KHAN, )
PETR AVEN,                           )
                                     )
            Plaintiffs,              )
                                     )
v.                                   )             No. 1:17-cv-2041-RJL
                                     )
BEAN LLC, et al.,                    )
                                     )
            Defendants.              )
_____________________________________)

     REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
      NON-PARTY IGOR DANCHENKO’S MOTION TO STRIKE PLAINTIFFS’
        IMPROPER NOTICE OF FAILURE TO FILE TIMELY RESPONSE,
       AND TO HOLD PLAINTIFFS’ MOTION TO COMPEL IN ABEYANCE
           PENDING SERVICE ON NON-PARTY IGOR DANCHENKO

       Non-party Igor Danchenko (“Mr. Danchenko”), through counsel and pursuant to Local

Civ. R. 7(d), submits this Reply Memorandum of Points and Authorities in support of his motion

to (1) strike Plaintiffs’ improper Notice of Non-party Igor Danchenko’s Failure to File Timely

Response, ECF No. 119; and (2) hold Plaintiffs’ Motion to Compel, ECF No. 109, in abeyance

until it has been served on Mr. Danchenko as required by Fed. R. Civ. P. 5(b)(2) and Local Civ.

R. 5.4(d)(1) (“Motion to Strike and Hold in Abeyance”).

                                   REPLY ARGUMENT

       Plaintiffs’ Opposition Memorandum makes two arguments against granting the Motion to

Strike and Hold in Abeyance. First, Plaintiffs contend that they did not need to serve Mr.

Danchenko with their Motion to Compel. See Pls.’ Opp’n at 5-7. Plaintiffs’ second, alternative

theory is that Mr. Danchenko’s counsel waived the service requirement. Neither contention is

correct, and the Court should grant Mr. Danchenko’s motion.



                                              1
         Case 1:17-cv-02041-RJL Document 124 Filed 01/29/21 Page 2 of 5




   1. Rule 37 Motions Are Not Exempt From Service Requirements

       Plaintiffs claim that a Rule 37 motion need not be served. See Pls.’ Opp’n at 5. Yet Fed.

R. Civ. P. 5(a)(1)(D) states plainly that any “written motion” must be served.           Plaintiffs

misconstrue Rule 37(a)’s notice requirement as obviating the need to comply with Rule 5.

Contrary to Plaintiffs’ understanding, Rule 37(a)’s notice requirement is an additional condition

that a movant must satisfy before seeking an order compelling discovery or disclosure. For

example, as this court recognized in Pederson v. Preston, a party may oppose a motion to compel

for “insufficient notice” under Rule 37(a), even where service under Rule 5 is not contested. 250

F.R.D. 61, 64 (D.D.C. 2008). In other words, Rule 37(a) operates as an additional hurdle that a

party must clear before embroiling the Court in a discovery dispute. It does not excuse that party

from other applicable rules.

       Tellingly, Plaintiffs’ Motion to Compel included a certificate of service, certifying that

Plaintiffs’ counsel “caused a copy of the foregoing to be served on counsel for non-party Igor

Danchenko via Certified Mail and e-mail . . . .” Mot. to Compel at 3, ECF No. 109. It is curious

that Plaintiffs attempted to serve Mr. Danchenko under Rule 5 if they thought it to be unnecessary.

It makes sense, however, that Plaintiffs attempted to serve Mr. Danchenko because it is required

under Fed. R. Civ. P. 5(a) and Local Civ. R. 5.4(d). Rule 37 does not relieve them of those

obligations.

       Thus, whether or not Plaintiffs complied with Rule 37(a), Mr. Danchenko is entitled to

proper service under Rule 5.

   2. Counsel For Mr. Danchenko Has Not Accepted Nor Waived Service

       Plaintiffs next contend that Mr. Danchenko’s counsel either accepted or waived service.

The cases that Plaintiffs cite in support of this proposition are extreme examples and factually




                                                2
         Case 1:17-cv-02041-RJL Document 124 Filed 01/29/21 Page 3 of 5




dissimilar from this case. In Booth v. Trident Literacy Ass’n, Inc., for example, the court held that

the defendant had waived service because there was “no [] explanation for refusing to waive

service” other than a litigation tactic. No. 2:15-4819-RMG, 2016 WL 4203821, at *3 (D.S.C. Aug.

8, 2016).   Unlike Booth, this case involves legitimate confusion about the timing of Mr.

Danchenko’s representation, caused by undersigned counsel’s inopportune and unexpectedly

challenging transition between law firms. As Plaintiffs’ counsel is aware, in the fall of 2020 Mr.

Danchenko’s counsel was in the process of moving to a new law firm. Counsel for Mr. Danchenko

explained to Plaintiffs’ counsel during a telephone call in late October 2020 that he did not yet

know whether Mr. Danchenko intended to retain him after he changed firms. The correspondence

attached to the Declaration of Alan S. Lewis in Support of Proposed Order on Conceded Motion

(“Lewis Decl.”), ECF No. 119-1, reveals this understanding. In fact, Plaintiffs’ counsel concedes

that Mr. Schamel “never did” formally accept service of the Motion. Lewis Decl. at 3 ¶ 12. To

that end, Plaintiffs’ counsel asked Mr. Schamel on November 30, 2020, whether Mr. Schamel

would “accept service of the motion” or whether he is “not be representing Mr. Danchenko.”

Lewis Decl., Ex. A, ECF No. 119-2. Plaintiffs acknowledge that “Mr. Schamel did not respond to

[that] email.” Lewis Decl. at 3 ¶ 13.

       Furthermore, the Booth court found it equitable to deem service waived in part because the

complaint would otherwise be dismissed and the case terminated for lack of service, even though

the defendant’s counsel had already expressly waived service. 2016 WL 4203821, at *3. Here,

however, Mr. Danchenko does not seek to defeat the Motion to Compel by technicality. Rather,

he merely asks for an opportunity to file an opposition and address the substance of Plaintiffs’

motion in the manner and time allowed by applicable rules.




                                                 3
         Case 1:17-cv-02041-RJL Document 124 Filed 01/29/21 Page 4 of 5




   3. Mr. Danchenko Conditionally Consents to Accept Service of the Motion

        Mr. Danchenko reiterates that, notwithstanding Plaintiffs’ improper and ineffective attempt

to serve him, he intends to respond to the Motion to Compel and is willing to voluntarily accept

service of Plaintiffs’ Motion to Compel, pursuant to Fed. R. Civ. P. 5(b)(2)(F), should the Court

grant his Motion to Strike and Hold in Abeyance. In that case, Mr. Danchenko would have

fourteen days from the date of the Court’s order to file a response to Plaintiffs Motion to Compel.

See Fed. R. Civ. P. 6(a); Local Civ. R. 7(b). Such a court order is necessary at this juncture, given

the dispute about whether Mr. Danchenko has conceded the Motion to Compel, to provide the

Plaintiffs and Mr. Danchenko a clear briefing schedule.

                                         CONCLUSION

        For the foregoing reasons, the Court should strike Plaintiffs’ improper Notice of Non-

party Igor Danchenko’s Failure to File Timely Response, and allow Mr. Danchenko to respond

to the Motion to Compel as provided by federal and local rules of civil procedure.

Date:   January 29, 2021                                      Respectfully submitted,

                                                              /s/ Mark E. Schamel     d
                                                              Mark E. Schamel
                                                              Lowenstein Sandler LLP
                                                              2200 Pennsylvania Ave. NW
                                                              Washington, DC 20037
                                                              Tel: (202) 753-3805
                                                              Fax: (202) 753-3838
                                                              mschamel@lowenstein.com

                                                              /s/ Christopher M. Schafbuch     d
                                                              Christopher M. Schafbuch
                                                              Lowenstein Sandler LLP
                                                              1251 Avenue of the Americas
                                                              17th Floor
                                                              New York, NY 10020
                                                              Tel: (212) 419-5879
                                                              Fax: (973) 597-2400
                                                              cschafbuch@lowenstein.com



                                                 4
         Case 1:17-cv-02041-RJL Document 124 Filed 01/29/21 Page 5 of 5




                               CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2021, I caused a copy of the foregoing to be sent via

the Court’s CM/ECF system to all counsel of record who have entered an appearance in this case.




                                                           /s/ Mark E. Schamel       d
                                                           Mark E. Schamel
